Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 1 of 15
Appellate Case: 23-1258       Document: 010110905159            Date Filed: 08/18/2023    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                        August 18, 2023


  David William Dacres Shaver
  1750 30th Street, Unit A338
  Boulder, CO 80301

  RE:       23-1258, In re: Shaver
            Dist/Ag docket: 1:23-CV-00645-NYW

 Dear Petitioner:

 Your petition for writ of mandamus was docketed today. Please note the case number
 above.

 Your petition for writ of mandamus has been docketed but will not be submitted to the
 court until the docket fee has been paid or you have filed a motion for leave to proceed
 without prepayment of fees and costs. See Fed. R. App. P. 21(a)(3) and 10th Cir. R. 21.1.
 Within 30 days of the date of this notice, you must either pay the $500.00 docket fee to
 the clerk or file a motion for leave to proceed without prepayment of fees on the enclosed
 form. If the fee is not paid or the form is not filed, this proceeding may be dismissed
 without further notice. See 10th Cir. R. 3.3(B).

 Pro se parties must complete and file an entry of appearance form within thirty days of
 the date of this letter.

 Within 30 days of the date of this letter, you must provide proof of service of the petition
 on respondent(s) and the district court judge (See Fed. R. App. P. 21(a)(1)), or this
 proceeding may be dismissed without further notice. See 10th Cir. R. 3.3(B). The
 enclosed form may be used.
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 2 of 15
Appellate Case: 23-1258     Document: 010110905159        Date Filed: 08/18/2023   Page: 2
 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court




  CMW/jjh




                                              2
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 3 of 15
Appellate Case: 23-1258       Document: 010110905159          Date Filed: 08/18/2023      Page: 3



                          UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT

                                Entry of Appearance - Pro Se




  v.                                                      Case No.




         I hereby notify the clerk that I am appearing pro se as the
 _____________________________________________________________________
                       (Appellant, Petitioner, Appellee or Respondent)
 in this case. All notices regarding the case should be sent to me at the address below. If
 my mailing address changes, I will promptly notify the clerk in writing of my new
 address.

         Further, in accordance with 10th Cir. R. 46.1, I certify: (Check one.)
       All parties to this litigation, including parties who are now or have been interested
         in this litigation, are revealed by the caption on appeal, or

        There are parties interested in this litigation that do not appear in the caption for
         this appeal, and they are listed on the back of this form.

 _________________________________ __                ______________________________
 Signature                                           Name
                                                     ________________________________
                                                     Mailing Address
                                                     ________________________________
                                                     City        State     Zip Code
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 4 of 15
Appellate Case: 23-1258     Document: 010110905159          Date Filed: 08/18/2023       Page: 4



                              CERTIFICATE OF SERVICE

 I hereby certify that:

               All other parties to this litigation are either: (1) represented by
               attorneys; or (2) have consented to electronic service in this case; or

               On ____________________________ I sent a copy of the Pro Se Entry
                          [date]

        of Appearance Form to:___________________________________________

        at___________________________________________________________

        ______________________________________________, the last known

       address/email address, by __________________________.
                                  [state method of service]
 _________________________
 Date

 _______________________________________
 Signature


                    CERTIFICATE OF INTERESTED PARTIES
                        (attach additional pages if necessary)




 A-5 Pro Se Entry of Appearance Form 12/22
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 5 of 15
Appellate Case: 23-1258          Document: 010110905159   Date Filed: 08/18/2023    Page: 5



                                   CERTIFICATE OF SERVICE

         I hereby certify that on ____________________________ I served a copy of
                                             [date]

 the _______________________________________________________________,
                              [name of document]
 to:

 _______________________________________________________, at _________
           [opposing party or attorney]

 __________________________________________________________________


 ______________________________________________, the last known


 address/email address, by _______________________________.
                            [state method of service]




 ____________________                       ___________________________________
 Date                                       Signature




 COS Certificate of Service pro se 6/2011
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 6 of 15
Appellate Case: 23-1258              Document: 010110905159              Date Filed: 08/18/2023           Page: 6



                               UNITED STATES COURT OF APPEALS
                                   FOR THE TENTH CIRCUIT




                                                                           Case No.


   Plaintiff/Petitioner – Appellant,                                       Motion for Leave to Proceed
                                                                           on Appeal Without
        v.                                                                 Prepayment of Costs or Fees
                                                                           (non-PLRA)




   Defendant/Respondent –Appellee.




             I, _________________________________________, the petitioner/appellant in

 the captioned case move this court for leave to proceed in forma pauperis.

             In support of this motion, I state that because of my poverty, I am unable to pay

 the costs of said proceedings or give security therefor, I submit the following financial

 declaration.




 A-14        Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 1
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 7 of 15
Appellate Case: 23-1258         Document: 010110905159              Date Filed: 08/18/2023           Page: 7



                                   FINANCIAL DECLARATION


         Affidavit to Accompany Motion for Permission to Appeal in Forma Pauperis


 I swear or affirm under penalty of perjury that because of my poverty I am unable to pay the
 docket fees of my appeal or to post a bond for them. I believe I am entitled to a different result
 than that reached in the district court.

 I further swear or affirm under penalty of perjury that the responses which I have made to the
 questions and instructions below relating to my ability to pay the fees for my appeal are true.

 Instructions. Please complete all questions in this application and then sign it on the last
 page. If the answer to any question is "0" or "none," or the question is "not applicable", so
 indicate by writing "0", "none", or "not applicable (N/A)". If additional space is needed to
 answer any question or to explain your answer to any question, please use and attach a separate
 sheet of paper identified with your name, the docket number of your case and the number of the
 question.

 My issues on appeal are:




 1. Are you or your spouse currently employed?               Yes _____         No _____

 2. If you or your spouse are currently employed, state the name and address of your employer,
 the length of your employment with that employer, and your monthly gross pay. Gross pay is
 pay before any taxes or other deductions are taken. If you have more than one employer, please
 provide the information requested below about the other employer(s) on a separate sheet of paper
 and attach it to this application.




 A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 2
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 8 of 15
Appellate Case: 23-1258           Document: 010110905159              Date Filed: 08/18/2023           Page: 8




  Yourself:                                                Your Spouse:
  Name and Address of Employer                             Name and Address of Employer

  _________________________________                        _________________________________
  _________________________________                        _________________________________
  _________________________________                        _________________________________

                 Length of Employment                                   Length of Employment
                    _____    ______                                        _____    ______
                    Years     Months                                       Years     Months

  Monthly Gross Pay $____________                          Monthly Gross Pay $____________


 3. If you are currently unemployed, state the date of your last employment and your monthly
 gross pay during your last month of employment. Gross pay is pay before any taxes or other
 deductions are taken.

 Date of last employment (Month/Year) for yourself _______________; spouse _____________

 Monthly gross pay during last month of employment $____________

 4. State whether you or your spouse have received money from any of the following sources
 during the past twelve months, and, if so, the average monthly amount from that source. Adjust
 any money that was received weekly, bi-weekly, quarterly, semi-annually, or annually to show
 the monthly rate.

  Did you receive money from                    Average monthly amount during             Amount expected next
  any of the following sources                  past 12 months for you and your           month
  during the past 12 months?                    spouse if applicable.
                                                                You           Spouse          You         Spouse

  Self-employment                               Y/N ___      $ _______     $ _______      $ _______      $ _______

  Income from real property
  (such as rental income)                       Y/N ___      $ _______     $ _______      $ _______      $ _______
  Interest and dividends                        Y/N ___      $ _______     $ _______      $ _______      $ _______

  Gifts                                         Y/N ___      $ _______     $ _______      $ _______      $ _______


 A-14     Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 3
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 9 of 15
Appellate Case: 23-1258         Document: 010110905159              Date Filed: 08/18/2023           Page: 9



  Alimony                                     Y/N ___      $ _______     $ _______      $ _______      $ _______

  Child Support                               Y/N ___      $ _______     $ _______      $ _______      $ _______

  Retirement income from sources such
  as social security, private pensions,
  annuities, or insurance policies      Y/N ___            $ _______     $ _______      $ _______      $ _______
  Disability payments such as social
  security, other state or federal
  government, or insurance payments           Y/N ___      $ _______     $ _______      $ _______      $ _______
  Unemployment payments                       Y/N ___      $ _______     $ _______      $ _______      $ _______

  Public assistance payments such as
  welfare payments                            Y/N ___      $ _______     $ _______      $ _______      $ _______
  Other sources of money
  (specify: ____________________)             Y/N ___      $ _______     $ _______      $ _______      $ _______


  TOTAL                                                    $ _______     $ _______      $ _______      $ _______


 5. State the amount of cash you and your spouse have: $ ___________

 State below any money you or your spouse have in savings, checking, or other accounts in a
 bank or other financial institution.

  Bank or Other Financial Institution:             Type of Account          Amount you        Amount your
                                                   such as savings,         have:             spouse has:
                                                   checking, or CD:
  __________________________________               ________________         $ _________       $ _________

  __________________________________               ________________         $ _________       $ _________

  __________________________________               ________________         $ _________       $ _________




 A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 4
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 10 of 15
Appellate Case: 23-1258         Document: 010110905159               Date Filed: 08/18/2023           Page: 10



  6. State below the assets owned by you and your spouse. Do not list ordinary household
  furnishings and clothing.

   Home               Address:                                         Value: $ _________
                      _________________________________                Amount owed on mortgages and
                      _________________________________                liens: $ _________
   Other real         Address:                                         Value: $ _________
   estate             _________________________________                Amount owed on mortgages and
                      _________________________________                liens: $ _________
   Motor vehicle      Model/Year:                                      Value: $ _________
                      _________________________________                Amount owed: $ _________
   Motor vehicle      Model/Year:                                      Value: $ _________
                      _________________________________                Amount owed: $ _________
   Other              Description: ______________________              Value: $ ________
                      _________________________________                Amount owed: $ _________

  7. State below any person, business, organization, or governmental unit that owes you or your
  spouse money and the amount that is owed.

   Name of Person, Business, or Organization Amount Owed                Amount Owed
   that Owes You or Your Spouse Money        You:                       Your Spouse:
   __________________________________ $ _________                       $ _________

   __________________________________               $ _________         $ _________


  8. State the individuals who rely on you and your spouse for support. Indicate their
  relationship to you, their age, and whether they live with you.

   Name                             Relationship             Age             Does this person live with
                                                                             you?
   ___________________              ________________         _________       Yes _____      No _____

   ___________________              ________________         _________       Yes _____         No _____

   ___________________              ________________         _________       Yes _____         No _____

   ___________________              ________________         _________       Yes _____         No _____


  9. Complete this question by estimating the average monthly expenses of you and your family.

  A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 5
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 11 of 15
Appellate Case: 23-1258           Document: 010110905159              Date Filed: 08/18/2023           Page: 11



  Show separately the amounts paid by your spouse. Adjust any payments that are made weekly,
  bi-weekly, quarterly, semi-annually, or annually to show the monthly rate.

                                                                              You               Spouse
   Rent or home mortgage payment (include lot rented for mobile               $ ________        $ ________
   home)
          Are real estate taxes included? Yes ____ No ____
          Is property insurance included? Yes ____ No ____

   Utilities:      Electricity and heating fuel                               $ ________        $ ________

            Water and sewer                                                   $ ________        $ ________

            Telephone                                                         $ ________        $ ________

            Other ___________________                                         $ ________        $ ________

   Home maintenance (Repairs and upkeep)                                      $ ________        $ ________

   Food                                                                       $ ________        $ ________

   Clothing                                                                   $ ________        $ ________

   Laundry and dry cleaning                                                   $ ________        $ ________

   Medical and dental expenses                                                $ ________        $ ________

   Transportation (not including car payments)                                $ ________        $ ________

   Recreation, clubs and entertainment, newspapers, magazines, etc. $ ________                  $ ________

   Charitable contributions                                                   $ ________        $ ________

   Insurance (not deducted from wages or included in home
   mortgage payments):
            Homeowner's or renter's                                           $ ________        $ ________

            Life                                                              $ ________        $ ________

            Health                                                            $ ________        $ ________



  A-14    Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 6
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 12 of 15
Appellate Case: 23-1258         Document: 010110905159               Date Filed: 08/18/2023           Page: 12



           Auto                                                              $ ________        $ ________

           Other ___________________                                         $ ________        $ ________

   Taxes (not deducted from wages or included in home mortgage
   payments) (specify) __________________________________                    $ ________        $ ________
   Installment payments
           Auto:                                                             $ ________        $ ________
           Credit Card: (name) ____________________                          $ ________        $ ________

           Department Store: (name) ________________________                 $ ________        $ ________

           Other     ___________________                                     $ ________        $ ________

           Other     ___________________                                     $ ________        $ ________

   Alimony, maintenance, and support paid to others                          $ ________        $ ________

   Payments for support of additional dependents not living at your
   home                                                                      $ ________        $ ________
   Regular expenses from operation of business, profession, or farm
   (attach detailed statement)                                      $ ________                 $ ________
   Other ___________________                                                 $ ________        $ ________


                            TOTAL MONTHLY EXPENSES                           $ ________        $ ________




  A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 7
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 13 of 15
Appellate Case: 23-1258         Document: 010110905159               Date Filed: 08/18/2023           Page: 13



  10. Do you expect any major changes to your monthly income or expenses or in your assets or
  liabilities during the next 12 months? Yes _____  No _____
         If yes, describe on an attached sheet.


  11. Have you spent- or will you be spending- any money for expenses or attorney’s fees in
  connection with this case? Yes _____      No _____
       If yes, how much? $ _________


  If yes, provide the name, address, and telephone number of the attorney:
  ____________________________________________________________________
  ____________________________________________________________________
  ____________________________________________________________________


  12. Have you promised to pay or do you anticipate paying anyone other than an attorney (such
  as a paralegal, typing service, or another person) any money for services in connection with this
  case, including the completion of this form? Yes _____        No _____
         If yes, how much? $ __________


  If yes, provide the name, address, and telephone number of the person or service:
  ____________________________________________________________________
  ____________________________________________________________________
  ____________________________________________________________________


  13. How much can you pay each month toward the docket fee for your appeal:
       $ ______________


  14. Please provide any other information that helps to explain why you cannot pay the docket
  fees for your appeal.




  A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 8
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 14 of 15
Appellate Case: 23-1258          Document: 010110905159               Date Filed: 08/18/2023           Page: 14



   15.    State the city and state of your legal residence:



   Your daytime phone number: (______) ___________________

   Your age: __________________
   Years of schooling: _____________________
   [Last four digits of] your social security number: __________


  I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
  STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT. 28 U.S.C. §
  1746, 18 U.S.C. § 1621.


  Date:                                         Signature:




  A-14    Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 9
Case No. 1:23-cv-00645-NYW Document 41 filed 08/18/23 USDC Colorado pg 15 of 15
Appellate Case: 23-1258         Document: 010110905159               Date Filed: 08/18/2023           Page: 15



                                   CERTIFICATE OF SERVICE
  I hereby certify that:

                 All other parties to this litigation are either: (1) represented by attorneys; or
                  (2) have consented to electronic service in this case; or
                 On ____________________________ I sent a copy of this Motion for Leave to
                               [date]

  Proceed on Appeal without Prepayment of Costs or Fees, to:

  ______________________________________________________________________________
                                   [name of party]

  at____________________________________________________________________________,
                                    [address]

  the last known address/email address, by

   ____________________________________________.
                           [method of service]



  _________________                                        _____________________________
  Date                                                     Signature




  A-14   Motion for Leave to Proceed on Appeal without Prepayment of Costs or Fees (Non-PLRA) 12/22   Page 10
